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                             U NITED STA TES D ISTRIC T C O U RT
                             SO U TH E RN DISTRICT O F FLO R ID A

                                  CA SE N O . 16-20642-CIV -K 1N G

  ELEU TERIO A .BEN JA M IN ,
  LI7lS A LON SO,and
  allotherssim ilarly situated,


        Plaintiffs,




  v HU EX PRESS,lN C.,
  LISA D .BYTH EW O O D
  andCRAIGBYTHEWOôD,

        Defendants.


    O RD ER G R AN TIN G SAN C TIO NS.H O LDIN G D EFEN DA N TS IN C O N TEM PT O F
     CO UR T.AN D D IRE C TIN G PLA IN TIFF TO FILE FUR TH ER D EC LA R ATIO N S

         THIS CAUSE com esbeforetheCourtupon M agistrate Judge Edwin G,Torres'Octobyr

  2l,2016ReportandRecommendation(the'dR&R'')(DE 50).TheR&R firstrecommends
 holding DefendantsV H U Express lnc,,Lisa D .Bythewood,and Craig Bythewood in contem pt

  ofCourtfortheirviolationoftwocourtorders.Specifically,Defendantsignored(1)theJuly 14,
 2016CertificationOrder(DE 34)and(2)theSeptember15,2016OrderGrantingPlaintiffs
 M otiontoShow Cause(DE 48),which directedDefendantstoappearbeforetheCourtatan
 evidentiary hearing on the Plaintiffs'M otion forContem pt.

        TheR&R nextrecommendsthatdefaultjudgmentbeenteredinthePlaintiffs'favorand
 directs the Plaintiffs to file a declaration ofevidence fora determ ination of dam ages to be
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  includedinthedefaultjudgment.
             Notwithstanding thatthePlaintiffspetition thisCourtto allocate damagesastotwenty-

  threeplaintiffs,thePlaintiffsonly presentadequateevidenceofdamagesasto twoplaintiffs:
                                                                                                         )
  EuleterioA.Benjaminand LuisAlonso.Asbackground,thetwo-countComplaint(DE 1)was:
  served on February 23,2016.There, PlaintiffsallegedthatBenjaminandAlonsoworkedonan

  hourly basisforD efendants as localdelivery drivers, and thatDefendantswere theiremployers

  asdefinedbytheFairLaborStandardsAd (FLSA).DE 1,!!1,7,l2.Benjaminworkedfor
  Defendantsfrom Novem ber2015 to February 2016, and Alonso worked forDefendantsfrom 2

  December10,2015 to February 3,2016.1d., !t
                                           ! 16-17.Duringthattime,Plaintiffsallegethat
  Defendantsviolated the minimum wage and overtim erequirementsofthe FLSA by completely

  failingtopay BenjaminandAlonsoforregularworkinghoursandovertime.Id., !!30,37.Thet
  Defendantsfailed to respond to the Com plaint, andthePlaintiffsobtainedaClerk'sDefault(DE

  18)onM arch23,2016.Byvirtueofdefaulting,Defendantshaveadmittedtoa1lwell-pled
  allegationsoftheComplaint.l
         '


         The Plaintiffssubsequently ûled evidencepursuantto JudgeTorres'September 15, 2016
                                                                                                         (
  Orderdirecting Plaintiffsto fileadeclaration ofevidencein supportofan entry ofdefaultagainst

  Defkndants.However,the Plaintiffs'Dcclaration only providesan afsdavitofindebtednessby

  oneplaintiff(EuleterioA.Beqjamin),andfailstoprovideaftidavitsbytheremainingplaintiffs'             .



         W hilethewell-pled Complaintand affidavitofindebtednesssufficiently evince damages!

  lNotably,theadditionaltwenty-onePlaintiffsclaimingdamagesdidnotjointhisactionuntilahertheComplaint     .
 wasf
    sled.

 2AftertheClerk'sentry ofdefault, DefendantsGl
                                             edaproseAnswer(DE22)onApril5,2016,inwhichthey
 simply acknowledged receiptoftheAnswerand failed todefend themselvesagainsttheallegationsinthe
 Complaint.Accordingly,foraIlintentsandpurposestheallegationsin theComplaintareadmitted by virtueofthe
 Clerk'sdefault.
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  astoBenjaminandAlonso,theyfailtosupporttheallocationofdamagesastotheremaining
  twenty-onePlaintiffs.Therefore,beforedefaultjudgmentcanbeentered,thePlaintiffsmust
  furnish the Courtw ith furtherdeclarations evincing dam ages asto each rem aining Plaintiff.

         Accordingly,afterathorough review oftherecord and consideration oftheR&R , the

  Courtconcludesthatthe R&R iswellreasoned and accurately statesthe law ofthecase.

  However,in lightofthePlaintiffs'failureto furnish the Courtwith suftscientevidenceof

  dam agesasto the tw enty-one rem aining Plaintiffs, theCourtcannotgrantdefaultjudgmentat

  thistim e.

         Accordingly,the Courtbeing otherw ise fully advised,    itisORDERED,ADJUDGEb,
  and DECREED asfollows:

               MagistrateJudge Edwin G.Torres'Report& Recommendation (DE 50)be,and the
               sam e is, hereby PA RTIA LLY AFFIRM ED and ADOPTED as an Order of thîs

               Court.

               DefendantsVHU Expresslnc.,LisaD .Bythewood, and Craig B ythew ood are hereby

               held in CO NT EM PT O F CO U RT .

               Plaintiffs are DIRECTED to file furtherdeclarations evincing dam ages as to eaùh

               Plaintiff,with the exception ofPlaintiffsEuleterio A . Benjaminand LuisAlonso.

        DONE and O RDERED in Chambers at the Jam es Lawrence King Federal Justice

 Building and United StatesCourthouse,M iam i, Florida,this 16th day ofN ovem ber,2016.


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                                              J M ES LA W REN CE K IN G
                                                 ITED STA TES DISTR ICT JUD G
                                              SOUTHERN DISTRICT OF FLORI
                                                3
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  cc:   M agistrate Judge E dw in G .Torres
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